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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      Case No. 1:21-cr-342 (PLF)
       v.                                     :
                                              :
JERAMIAH CAPLINGER,                           :
                                              :
               Defendant.                     :


   GOVERNMENT’S POSITION ON DEFENDANT’S MOST RECENT PRE-TRIAL
                     SUPERVISION VIOLATION

       On April 15, 2021, United States Magistrate Judge G. Michael Harvey issued an order

granting defendant Jeramiah Caplinger pre-trial release, subject to certain conditions. ECF 9.

Those conditions include that Caplinger “Not use or illegally possess a narcotic drug or other

controlled substance defined in 21 U.S.C. 802, unless prescribed by a licensed medical

practitioner.” ECF 9, 58. Another Court-ordered condition of Caplinger’s release is that he is

“Prohibited from using marijuana under federal law.” Id. The Court, via the Pre-Trial Services

Office for the Eastern District of Michigan, monitors Caplinger’s compliance with these conditions

via periodic random drug testing. See id.

       During the approximately one-year period of his pre-trial supervision, Caplinger has been

drug tested eight times. In the entire time Caplinger has been under supervision, he has only tested

negative twice. He tested positive the other six times, including as recently as February 27, 2022.

Based on the timing of his positive and negative tests, since August 2021, the longest period

Caplinger has gone without using illegal drugs appears to have been, at best, two months.

       So far, Caplinger has suffered no significant repercussions for his repeated flouting of the

Court’s orders. The Pre-Trial Services officer recommends that the Court respond to this latest

violation by issuing a “Judicial directive that [Caplinger] comply with condition.” ECF 58. The
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United States cannot join in that recommendation. The Court has already tried this approach twice

without success. A third time would be futile. Indeed, the Court issued such a directive when it

imposed these conditions in the first place on April 15, 2021. See ECF 9. And approximately seven

months later, on November 8, 2021, the Court reissued this same directive to Caplinger and

admonished him to comply with his conditions. See ECF 38. In fact, at that time the Court went a

step further and ordered the defendant to report for a mental health evaluation, comply with all

treatment recommendations, sign all release waivers, and report treatment compliance to the Court.

See id. But this intervention did not change Caplinger’s behavior either. While he reported for his

required mental health evaluation, he has continued to defy the Court’s orders, use drugs, and test

positive.

       Enough is enough. Caplinger has repeatedly demonstrated that he will not comply with the

drug use-related conditions of his release. Directives and admonishments have proven to be

ineffective. At this point, there is little reason to believe that further verbal directives from the

Court will change the defendant’s behavior. Accordingly, the United States recommends that the

Court order that the defendant be detained pending sentencing.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY


                                              By:

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